Case 5:21-cv-00006-LGW-BWC Document 21 Filed 10/12/21 Page 1 of 1

AO 450 (GAS Rev 09/20) Judgment in a Civil Case

United States District Court
Southern District of Georgia

JOHN LAMAR SIMPSON,

Plaintiff,
JUDGMENT IN A CIVIL CASE

V. CASE NuMBER: © 221-006

JOSH WICKER; ROBERT TOOLE; and BENJAMIN
FORD,

Defendants.

Jury Verdict. This action came before the Court fora trial by jury. The issues have been tried and the jury
has rendered its verdict.

V1 Decision by Court. This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED

that, pursuant to the Order of the Court dated October 7, 2021, the Magistrate Judge's Report and
Recommendation is adopted as the Order of the Court. Therefore, Plaintiffs complaint is dismissed,

and Plaintiff is denied in forma pauperis status on appeal. This case stands closed.

Approved by:

 

ON. LISA
ITED STATES DISTRICT COURT
S

HERN DISTRICT OF GEORGIA

John E. Triplett, Clerk of Court

(By) Deputy Clefk

 

 

GAS Rev 10/2020
